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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION


UNITED STATES OF AMERICA,

                      Plaintiff,
                                                            Case Number: 16-cr-20146
v.
                                                            Honorable Thomas L. Ludington
D-2 TINA FROST,                                             Magistrate Judge Patricia T. Morris

                  Defendant.
_______________________________________/


       ORDER ADOPTING REPORT AND RECOMMENDATION, ACCEPTING
       DEFENDANT’S PLEA OF GUILTY, AND TAKING THE RULE 11 PLEA
                   AGREEMENT UNDER ADVISEMENT

       On May 27, 2016, United States Magistrate Judge Patricia T. Morris conducted a plea

hearing pursuant to Defendant Tina Frost’s consent. The Magistrate Judge issued her report that

same day, recommending that this Court accept Defendant’s plea of guilty. ECF No. 46.

       Although the Magistrate Judge’s report explicitly stated that the parties to this action

could object to and seek review of the recommendation within fourteen days of service of the

report, neither Plaintiff nor Defendant filed any objections. The failure to file objections waives

any right to appeal the magistrate judge’s findings that Defendant was competent to enter a plea,

and that the plea was entered knowingly, voluntarily, without coercion, and with a basis in fact.

See Fed. R. Crim. P. 11(b); Thomas v. Arn, 474 U.S. 140, 149 (1985).

       Accordingly, it is ORDERED that the Magistrate Judge’s Report and Recommendation,

ECF No. 46, is ADOPTED.
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       It is further ORDERED that Defendant’s plea of guilty is ACCEPTED, and the Rule 11

Plea Agreement, ECF No. 45, is taken UNDER ADVISEMENT.



Dated: June 17, 2016                                                        s/Thomas L. Ludington
                                                                            THOMAS L. LUDINGTON
                                                                            United States District Judge




                                               PROOF OF SERVICE

                       The undersigned certifies that a copy of the foregoing order was served
                       upon each attorney or party of record herein by electronic means or first
                       class U.S. mail on June 17, 2016.

                                             s/KARRI SANDUSKY____________
                                             Karri Sandusky, Acting in the
                                             Absence of Michael A. Sian, Case Manager
